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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 15-17983
         CARY A SCHULTZ
         KATHLEEN B SCHULTZ
                 Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tom Vaughn, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 05/21/2015.

         2) The plan was confirmed on 12/08/2015.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
11/30/2016.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 07/27/2018.

         6) Number of months from filing to last payment: 38.

         7) Number of months case was pending: 41.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $134,650.00.

         10) Amount of unsecured claims discharged without payment: $171,875.43.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

        Total paid by or on behalf of the debtor            $44,400.00
        Less amount refunded to debtor                           $0.00

NET RECEIPTS:                                                                                  $44,400.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                               $2,525.00
    Court Costs                                                             $0.00
    Trustee Expenses & Compensation                                     $2,014.09
    Other                                                                   $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                $4,539.09

Attorney fees paid and disclosed by debtor:                $725.00


Scheduled Creditors:
Creditor                                     Claim         Claim            Claim        Principal      Int.
Name                               Class   Scheduled      Asserted         Allowed         Paid         Paid
AMERICAN EXPRESS               Unsecured      1,424.00          89.59            89.59          35.42       0.00
AMERICAN EXPRESS               Unsecured            NA       5,224.72         5,224.72      2,065.84        0.00
AMERICAN EXPRESS               Unsecured            NA       1,440.84         1,440.84        569.71        0.00
CAPITAL ONE BANK USA           Unsecured            NA       9,291.03         9,291.03      3,673.66        0.00
CAPITAL ONE BANK USA           Unsecured     11,537.19     11,681.49        11,681.49       4,618.84        0.00
CAPITAL ONE NA                 Unsecured      2,542.48       2,542.48         2,542.48      1,005.29        0.00
CHASE                          Unsecured      8,842.27            NA               NA            0.00       0.00
CHASE                          Unsecured     19,282.30            NA               NA            0.00       0.00
CITIBANK NA                    Unsecured      4,184.20       4,428.87         4,428.87      1,751.17        0.00
CITIBANK NA                    Unsecured     15,636.27     15,636.27        15,636.27       6,182.55        0.00
COMPUTER CREDIT                Unsecured         589.44           NA               NA            0.00       0.00
EVERGREEN BANK GROUP           Unsecured      4,159.90            NA               NA            0.00       0.00
FIRST MIDWEST BANK             Secured       20,600.00     20,684.53        20,984.35            0.00       0.00
FIRST MIDWEST BANK             Unsecured     20,600.00            NA               NA            0.00       0.00
FIRST MIDWEST BANK             Secured             0.00        299.82         1,025.82      1,025.82        0.00
FREEDMAN ANSELMO LINDBERG LL Unsecured        8,310.43            NA               NA            0.00       0.00
INTERNAL REVENUE SERVICE       Priority      10,000.00       6,713.15         6,713.15      6,713.15        0.00
INTERNAL REVENUE SERVICE       Unsecured            NA       2,902.23         2,902.23      1,147.54        0.00
MEDICAL BUSINESS BUREAU        Unsecured         240.00           NA               NA            0.00       0.00
MERCHANTS CREDIT GUIDE CO      Unsecured         185.70           NA               NA            0.00       0.00
MIDWEST ORTHOPEDICS AT RUSH L Unsecured          548.13           NA               NA            0.00       0.00
NATIONWIDE CREDIT & COLLECTION Unsecured      2,000.64            NA               NA            0.00       0.00
NATIONWIDE CREDIT & COLLECTION Unsecured      2,158.65            NA               NA            0.00       0.00
NORDSTROM                      Unsecured         223.03           NA               NA            0.00       0.00
PALOS COMMUNITY HOSPITAL       Unsecured         176.40           NA               NA            0.00       0.00
PALOS COMMUNITY HOSPITAL       Unsecured         707.00           NA               NA            0.00       0.00
PNC BANK                       Unsecured      5,905.02       5,849.93         5,849.93      2,313.05        0.00
PRA RECEIVABLES MGMT           Unsecured         827.47        930.78           930.78        368.03        0.00
PRA RECEIVABLES MGMT           Unsecured         419.05        464.00           464.00        183.46        0.00
PRA RECEIVABLES MGMT           Unsecured      5,189.82       5,376.23         5,376.23      2,125.75        0.00
PRA RECEIVABLES MGMT           Unsecured         845.81        887.54           887.54        350.93        0.00



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Scheduled Creditors:
Creditor                                     Claim           Claim         Claim        Principal       Int.
Name                               Class   Scheduled        Asserted      Allowed         Paid          Paid
PRA RECEIVABLES MGMT           Unsecured      8,920.05         9,325.03      9,325.03      3,687.10         0.00
QUANTUM3 GROUP LLC             Unsecured      1,375.07         1,492.74      1,492.74        590.23         0.00
QUANTUM3 GROUP LLC             Unsecured         989.13          923.64        923.64        365.21         0.00
QUICKEN LOANS INC              Unsecured     54,500.00              NA            NA            0.00        0.00
QUICKEN LOANS INC              Secured      160,000.00      214,461.96    214,461.96            0.00        0.00
RADIOLOGY & NUCLEAR CONSULTA   Unsecured          43.00             NA            NA            0.00        0.00
RUSH UNIVERSITY                Unsecured         191.00             NA            NA            0.00        0.00
US BANK HOME MORTGAGE          Unsecured     31,500.00             0.00      2,752.07      1,088.16         0.00
US BANK HOME MORTGAGE          Secured              NA         2,752.07          0.00           0.00        0.00
US BANK HOME MORTGAGE          Secured      218,500.00      251,466.26    251,466.26            0.00        0.00


Summary of Disbursements to Creditors:
                                                             Claim            Principal                Interest
                                                           Allowed                Paid                    Paid
Secured Payments:
      Mortgage Ongoing                               $486,912.57                 $0.00                  $0.00
      Mortgage Arrearage                               $1,025.82             $1,025.82                  $0.00
      Debt Secured by Vehicle                              $0.00                 $0.00                  $0.00
      All Other Secured                                    $0.00                 $0.00                  $0.00
TOTAL SECURED:                                       $487,938.39             $1,025.82                  $0.00

Priority Unsecured Payments:
       Domestic Support Arrearage                             $0.00              $0.00                  $0.00
       Domestic Support Ongoing                               $0.00              $0.00                  $0.00
       All Other Priority                                 $6,713.15          $6,713.15                  $0.00
TOTAL PRIORITY:                                           $6,713.15          $6,713.15                  $0.00

GENERAL UNSECURED PAYMENTS:                           $81,239.48           $32,121.94                   $0.00


Disbursements:

       Expenses of Administration                             $4,539.09
       Disbursements to Creditors                            $39,860.91

TOTAL DISBURSEMENTS :                                                                         $44,400.00




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 11/02/2018                             By:/s/ Tom Vaughn
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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